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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                            Plaintiffs,     Case No. 1:20-cv-03010-APM

v.                                          HON. AMIT P. MEHTA

GOOGLE LLC,

                            Defendant.


STATE OF COLORADO, et al.,

                            Plaintiffs,     Case No. 1:20-cv-03715-APM

v.                                          HON. AMIT P. MEHTA

GOOGLE LLC,

                            Defendant.


                        PLAINTIFFS’ RESPONSE TO
                DEFENDANT’S PROPOSED CONCLUSIONS OF LAW




March 22, 2024 [Corrected April 30, 2024]
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Citation         Post-Trial Filing
Def. PCOL        Defendant’s Proposed Conclusions of Law, ECF No. 827
Def. PFOF        Defendant’s Proposed Findings of Fact, ECF No. 828
Def. PTB         Defendant’s Post-Trial Brief, ECF No. 826
Pls. PCOL        Plaintiffs’ Proposed Conclusions of Law, ECF No. 821
                 Plaintiffs’ Proposed Findings of Fact, ECF No. 822 (¶¶ 1–1345)
Pls. PFOF        Plaintiffs’ Response to Defendant’s Proposed Findings of Fact (filed
                     Mar. 22, 2024) (¶¶ 2001–2480)
Pls. PTB         Plaintiffs’ Post-Trial Brief, ECF No. 820
Summ. J. Opinion Memorandum Opinion on Motions for Summary Judgment, ECF No. 624

Initialism        Full Term
GSE               General Search Engine
ROI               Return on Investment
SVP               Search Vertical Provider




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I.     Plaintiffs Have Proven All Three Alleged Relevant Product Markets

       Google argues that Plaintiffs’ markets are too narrow because they exclude reasonable

substitutes. Def. PCOL ¶¶ 7, 19. Google’s arguments misstate the law and are contrary to the

extensive evidence regarding market definition.

       A.      Products With Distinct Purposes Are Not Reasonably Interchangeable

       The Court should reject Google’s argument that, when defining the relevant markets,

Plaintiffs improperly focus on product differences over substitution. Def. PCOL ¶¶ 13, 15, 19,

29. Google cites cases for the uncontroversial position that differentiated products with the same

purpose may belong in the same market. Id. ¶¶ 13, 19, 29. These cases are inapplicable; the

evidence shows that consumers and advertisers, as well as other market participants, view the

products in the relevant markets as having different purposes than products outside those

markets; this makes products outside the markets poor substitutes for products inside the

markets. Pls. PTB at §§ I.A–D. Indeed, the products excluded from Plaintiffs’ markets are

complements rather than substitutes. Pls. PTB at 15, 21; Pls. PFOF ¶¶ 430–439, 483–492, 2207,

2210, 2234–2237; Intel Corp. v. Seven Networks, LLC, 562 F. Supp. 3d 454, 461 (N.D. Cal.

2021); FTC v. Sysco Corp., 113 F. Supp. 3d 1, 28, 30–31 (D.D.C. 2015).

       B.      An Empirical Analysis Is Not Required To Define A Relevant Market

       Google suggests that, to prove a relevant product market, Plaintiffs must offer a

quantitative hypothetical monopolist test or other empirical substitution analysis. Def. PCOL

¶ 22; Def. PTB § I.B. There is no such requirement under the law, Pls. PCOL at 4–6; Knutson v.

The Daily Review, Inc., 548 F.2d 795, 804 (9th Cir. 1976), and the cases cited by Google do not

support its position, Def. PCOL ¶ 22; Def. PTB at 21. In any event, Plaintiffs have offered

sufficient evidence, including expert testimony, that a hypothetical monopolist in each market

would find it profitable to raise price significantly above competitive levels or reduce quality


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significantly below competitive levels. Pls. PTB §§ I.A–E.

       C.      One-Stop Shopping Can Properly Be A Product Market

       There are neither facts nor law supporting Google’s argument that one-stop shopping is

an invalid basis for defining a general search services market. Def. PCOL § I.A.1. To the

contrary, when consumers demand a one-stop shop, and that offering is not reasonably

interchangeable with other offerings, then the one-stop shop is a proper product market. United

States v. Grinnell Corp., 384 U.S. 563, 571–74 (1966); FTC v. Whole Foods Mkt., 548 F.3d

1028, 1037–41 (D.C. Cir. 2008); Sysco, 113 F. Supp. 3d at 26–37; FTC v. Staples, Inc., 970 F.

Supp. 1066, 1075–81 (D.D.C. 1997).

       Contrary to Google’s argument, Def. PCOL ¶ 9, the evidence showed that consumers

demand the one-stop shop offered by GSEs,1 and these services are fundamentally different than

those offered by SVPs and social media, Pls. PTB §§ I.A–B. In contrast, the cases cited by

Google emphasize the identical or functionally equivalent nature of products in and out of the

alleged markets. Thurman Indus., Inc. v. Pay N Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir.

1989) (products at home centers were functionally equivalent or identical to products at specialty

stores); Emigra Grp. v. Fragomen, Del Ray, Bernsen & Loewy, LLP, 612 F. Supp. 2d 330, 360

(S.D.N.Y. 2009) (end products from specialized services and one-stop shops were “identical”);

PepsiCo v. Coca-Cola Co., 114 F. Supp. 2d 243, 254 (S.D.N.Y. 2000) (“[F]ountain syrup

delivered by an independent foodservice distributor is no different from fountain syrup delivered




1 Google’s view on whether the interests of users and distributors align vacillates. For market

definition, Google argues there is no alignment, Def. PCOL ¶ 10; for its competition-for-the-
contract argument, Google argues there is near perfect alignment, Def. PTB § III.C; Def. PCOL
§ III.A.4. In fact, distributors’ decisions provide some information for market definition because
there is some alignment of interests between users and distributors. Pls. PFOF ¶¶ 332–336. But
that alignment is not perfect. Id. ¶¶ 1232–1241.

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by another means of distribution.”); Green Country Food Mkt. v. Bottling Grp., 371 F.3d 1275,

1285 (10th Cir. 2004) (no market for packaged drinks when they could be bought individually).

       Google argues that its development of vertical search experiences shows that GSEs

compete with SVPs. Def. PTB at 13–14. But the fact that Google reacts to SVPs to some degree

does not mean SVPs belong in the market. United States v. Microsoft Corp., 253 F.3d 34, 53–54

(D.C. Cir. 2001) (en banc); Staples, 970 F. Supp. at 1079–80. Indeed, Google has it backwards.

Google’s development of search verticals shows that they are different products intended to

complement, not replace, core GSE functionality. Pls. PFOF ¶¶ 378, 382, 2217, 2219.1.

Although Google’s vertical offerings make the company more competitive with SVPs, SVPs

cannot constrain GSEs because SVPs do not offer the one-stop shop that consumers demand.

       D.      That Different Ad Channels Broadly Compete For Advertiser Dollars Does
               Not Mean All Digital Ads Should Be Included In The Relevant Ad Markets

       The Court should reject Google’s argument that competition for advertiser dollars

requires all digital ads be included in a single relevant market. Def. PCOL § I.B.1.

       First, Google ignores long-standing precedent defining markets around specific ad types.

See, e.g., Times-Picayune Publ’g Co. v. United States, 345 U.S. 594, 613 n.31 (1953). More

recently, courts have upheld markets for social media advertising and specialized programmatic

advertising. Klein v. Facebook, Inc., 580 F. Supp. 3d 743, 781–86 (N.D. Cal. 2022); FTC v.

IQVIA Holdings Inc., 2024 WL 81232, at *13 (S.D.N.Y. Jan. 8, 2024).

       Second, that different ad types compete in a broad sense “does not necessarily mean

those channels are reasonably interchangeable substitutes that must be included in the relevant

product market.” IQVIA, 2024 WL 81232, at *17. Google seeks to blunt its many internal

documents supporting Plaintiffs’ ad markets by arguing that the fact it “touts the benefits of its

search ads [and] distinguishes them from rival ad types” is evidence these ads compete, and



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therefore Plaintiffs’ markets are too narrow. Def. PCOL ¶ 25. The Court should reject Google’s

attempt to recast these statements as evidence that Search Ads and other digital ads are

reasonable substitutes. Unlike in Berlyn, Inc. v. The Gazette Newspapers, where the “strongest”

evidence plaintiff offered to support its alleged market was a single promotional flier comparing

print advertising to TV and radio advertising, 73 F. App’x 576, 583 (4th Cir. 2003), the record

here reveals overwhelming evidence of Google and third parties distinguishing Search Ads from

other types of digital ads. Pls. PFOF ¶¶ 430–439, 456–499, 2234–2249.

       Third, Google claims advertisers shift spend across ad channels when seeking to

maximize their ROI, arguing this means that Plaintiffs have improperly excluded reasonable

substitutes from the ad markets. Def. PCOL ¶ 20. Advertisers budgeting overall spend to

maximize ROI does not mean all digital ads are reasonably interchangeable. IQVIA, 2024 WL

81232, at *16–17 (shifting spend across ad channels to maximize ROI did not make channels

substitutes); United States v. Visa, Inc., 163 F. Supp. 2d 322, 336–38 (S.D.N.Y. 2001) (finding a

general purpose card market, even though “cash and checks compete with general purpose cards

as an option for payment by consumers and . . . growth in payments via cards takes share from

cash and checks in some instances”); Pls. PFOF ¶¶ 502–513, 2226–2233. Advertisers and

Google recognize Search Ads, Text Ads, and other digital ads serve complementary and

mutually reinforcing purposes. Pls. PFOF ¶¶ 430–439, 483–492, 2207, 2210, 2234–2237.

       E.     Audience Overlap Is Neither Necessary Nor Determinative

       Google’s greater audience overlap with SVPs and social media, as compared to other

GSEs, does not prove that Plaintiffs’ ad markets are too narrow. Def. PCOL ¶¶ 26–27. Although

audience overlap may be a factor, it is neither necessary nor determinative. Pls. PFOF ¶¶ 2241–

2243; see also IQVIA, 2024 WL 81232, at *13 (recognizing market for specialized programmatic

advertising, which excluded other digital advertising); cf. Insignia Sys., Inc. v. News Am. Mktg.


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In-Store, Inc., 661 F. Supp. 2d 1039, 1058–59 (D. Minn. 2009) (material dispute where evidence

showed that third-party at-shelf, in-store advertising was distinct from other in-store advertising).

       Google cites two cases to support its argument. Def. PCOL ¶ 26. Neither stands for the

proposition that audience overlap is determinative when defining a relevant advertising market.

In fact, Am. Online, Inc. v. GreatDeals.Net observed that advertising to AOL email subscribers

could be in the same market as advertising to Yahoo email subscribers even though each product

presumably reached non-overlapping consumers. 49 F. Supp. 2d 851, 858 (E.D. Va. 1999).

       F.      Distinct Ad Prices Weigh In Favor Of Plaintiffs’ Ad Markets

       Google argues that the fact Search Ads are more expensive on a cost-per-impression

basis “is insufficient to confine a market to search ads.” Def. PCOL ¶ 30. As an established

Brown Shoe factor, distinct prices should be weighed alongside other factors when defining a

market. See, e.g., United States v. H & R Block, 833 F. Supp. 2d 36, 55–56 (D.D.C. 2011); Pls.

PFOF ¶ 2232. Google cites cases that found distinct prices, unsupported by other evidence,

insufficient to establish separate markets. Berlyn, 73 F. App’x at 583; In re Super Premium Ice

Cream Distrib. Antitrust Litig., 691 F. Supp. 1262, 1268 (N.D. Cal. 1988). Here, distinct pricing

is one factor among many weighing in favor of Plaintiffs’ markets. Pls. PFOF ¶¶ 494–495, 2232.

II.    Google Wields Monopoly Power In Each Of The Three Relevant Markets

       A.      Google’s Dominant Market Shares Are Protected By High Barriers To Entry

       Although Google disputes Plaintiffs’ relevant markets, Google does not dispute that it

enjoys persistently high market share in those markets. Instead, Google challenges only whether

its high shares are protected by barriers to entry. The Court should reject Google’s arguments.

       First, Google argues that its exclusionary contracts lower barriers to entry, Def. PCOL

¶ 45; this rests on the false premise that, absent exclusivity, there would be no competition.

Whatever competition Google “allows” through its strategy of paying partners to accept


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exclusionary terms comes at the expense of true robust competition. The sole case Google cites

rejected a claim that anticompetitive conduct aimed at a single firm could be a barrier to entry.

L.A. Land Co. v. Brunswick Corp., 6 F.3d 1422, 1426–27 (9th Cir. 1993). Google has enacted a

network of exclusionary contracts throughout the market that impair competition generally.

       Second, Google argues that superior quality is not a barrier to entry, citing two cases

concluding that consumer goodwill and effective service are not barriers. Def. PCOL ¶ 44;

United States v. Syufy Enters., 903 F.2d 659, 668–69 (9th Cir. 1990); United States v. Waste

Mgmt., Inc., 743 F.2d 976, 984 (2d Cir. 1984). But the industries implicated by these two cases

—movie theaters and waste collection—hardly bear resemblance to the dynamic and pervasive

indirect network and scale effects at play here. See Microsoft, 253 F.3d at 55; Pls. PTB at 24, 29–

31; Pls. PCOL at 8–9.2

       B.      Google Defines Direct Evidence Of Monopoly Power Too Narrowly

       Google argues that direct evidence of monopoly power must take the form of reduced

output and supracompetitive pricing. This is wrong. Monopoly power may be proven through

other types of direct evidence, for example, evidence that a firm sets prices “without considering

rivals’ prices.” Microsoft, 253 F.3d at 57–58; Pls. PCOL at 10–11. Google’s argument rests

primarily on a misreading of Ohio v. American Express Co., 138 S. Ct. 2274 (2018). There, the

Court held that the evidence did not establish anticompetitive effects for a Section 1 claim, but

also recognized that such effects can be proven in multiple ways, including evidence that a

restraint “decreased quality” or “otherwise stifled competition.” Id. at 2284, 2287.




2 Google has failed to establish the reliability of Prof. Fox’s opinions. See Pls.’ Mot. to Exclude

the Expert Testimony of Edward A. Fox and Memo. in Support, ECF No. 443; Pls.’ Reply in
Support of Pls.’ Mot. to Exclude the Expert Testimony of Edward A. Fox, ECF No. 521 ; Pls.
PFOF ¶¶ 2077–2092. Accordingly, the Court should exclude Prof. Fox’s opinions.

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       Where, as here, a firm offers a product for no monetary cost, courts can and should look

to direct evidence relating to quality. See Cmty. Publishers v. Donrey Corp., 892 F. Supp. 1146,

1153 n.8 (W.D. Ark. 1995). In this case, evidence shows that, because it did not face the threat of

losing users to rivals, Google did not pursue privacy improvements to general search. Pls. PTB

§ IV.B. Google argues that its superior quality and continued innovation are inconsistent with the

possession of monopoly power in general search services. Def. PCOL ¶ 40. But even

monopolists may have some incentive to innovate. Pls. PCOL at 11.3

       Even if output restriction were required to show direct evidence of monopoly power,

here, Google’s anticompetitive conduct has ensured market participants have less incentive to

invest in search quality, which in turn means search quality is not improving and output is not

increasing as much as they would in a competitive market. Pls. PTB §§ IV.A & C.

       Google also argues that evidence of its ad price increases—a common marker of

monopoly power—does not support a finding of monopoly power in the ad markets. Def. PCOL

¶¶ 49–50. But no case cited by Google supports its theory that a defendant can significantly

increase prices to capture the value of self-proclaimed quality increases. Pls. PFOF ¶¶ 634.

       Finally, even if not direct proof, courts consider pricing evidence when assessing

circumstantial evidence of monopoly power. McWane, Inc. v. FTC, 783 F.3d 814, 832 (11th Cir.

2015); United States v. Dentsply Int’l, Inc., 399 F.3d 181, 190–91 (3d Cir. 2005).

III.   The Evidence Establishes A Prima Facie Case Of Anticompetitive Conduct

       A.      Google’s Conduct Is Prima Facie Unlawful Because It Harms Competition

       Google’s conduct is prima facie unlawful because it dampens incentives to compete,




3 Google’s argument that Plaintiffs cannot show monopoly power without comparing current

search quality and output to a but-for world is similarly untethered to the law. Infra § III.A.1.

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depresses rivals’ scale, and excludes nascent or potential competition. Pls. PTB § III; Pls. PCOL

at 13. Google (1) ignores these harms, Pls. PTB at 33 (payment-created disincentives), 34

(excluding Spotlight search ads); (2) misconstrues them, Pls. PTB § III.A (depressed scale), § IV

(foreclosure-created disincentives); and (3) misstates the relevant facts, Pls. PTB at 29–33

(importance of scale), 33–35 (exclusion of Suggestions and Branch), 42–49 (importance of

defaults). Def. PCOL ¶¶ 75–76, 107; Def. PTB at 65–69, 93. Google’s anticompetitive intent and

sanctionable conduct, which Google has ignored, provide further bases for this prima facie case.

Pls. PCOL §§ I, V.A.4, VI; Pls. PTB § VIII.

               1.      The Law Does Not Require Plaintiffs To Prove A But-For World

       Google argues that Rambus Inc. v. FTC requires Plaintiffs to define a but-for world to

show anticompetitive effects. Def. PTB at 43–44 (citing 522 F.3d 456, 466–67 (D.C. Cir. 2008));

Def. PCOL ¶ 74 (same). Rambus cannot and does not support Google’s argument.

       Rambus could not create a but-for requirement for Plaintiffs because preexisting Supreme

Court and en banc D.C. Circuit precedent hold otherwise. Standard Oil Co. of Cal. v. United

States, 337 U.S. 293, 309–10 (1949); Microsoft, 253 F.3d at 78–79. Aware of Microsoft, which

rejected a but-for requirement for proving causation, Google argues that proving anticompetitive

effects mandates a but-for world. Def. PTB at 43–44, 68; Def. PCOL ¶¶ 74–76, 107. But

Microsoft’s holding and reasoning apply well beyond causation: because a but-for requirement

creates a “proof problem” and “would only encourage monopolists to take more and earlier

anticompetitive action,” no part of “§ 2 liability turn[s] on a plaintiff’s ability or inability to

reconstruct the hypothetical marketplace absent a defendant’s anticompetitive conduct.” 253

F.3d at 79. Standard Oil likewise explains that requiring “evidence as to what would have

happened but for the adoption of the [challenged] practice . . . would be a standard of proof if not

virtually impossible to meet, at least most ill-suited for ascertainment by courts.” 337 U.S. at


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309–10. The Court should reject Google’s invitation to read Rambus to flout these precedents. 4

       In Rambus, the FTC found that the defendant had acquired a monopoly through

anticompetitive deception because, but-for the deception, a standard setting organization would

have (1) adopted technology other than the defendant’s or (2) negotiated better terms for the

defendant’s technology before adopting it. 522 F.3d at 459, 463–67. Although the FTC had no

finding about which of those outcomes was more likely to have occurred but-for the deception,

the agency concluded that the conduct was anticompetitive in either circumstance. Id. at 463,

466–67. The D.C. Circuit rejected the FTC’s argument and held that the second but-for

possibility was not a competitive harm. Id. at 466–67. Thus, for the FTC’s decision to stand, it

needed to show that absent the deception, the standard setting organization would have adopted

different technology. Under these unique facts, the court reversed the FTC because—rather than

showing that the deception would “tend[]” to harm competition—the Commission had

“expressly left open the likelihood” of an outcome that did not harm the competitive process. Id.

at 463–67; see also Klein, 580 F. Supp. 3d at 801 (discussing Rambus’s “tending” standard).

Rambus is thus inapposite for three reasons:

   •   Unlike in Rambus, Plaintiffs’ claims are not premised on any specific but-for world. See
       Pls. PTB at 51 (Google’s contracts harm competition even when their termination causes
       little market-share change).

   •   Rambus’s facts were simpler and undisputed: but-for the defendant’s conduct, only one
       of two things could have happened. 522 F.3d at 463–64. Here, the but-for possibilities are
       endless, Pls. PFOF ¶ 972, and “the defendant,” not the plaintiff, should “suffer the
       uncertain consequences of its own undesirable conduct,” Microsoft, 253 F.3d at 79.

   •   Rambus had no finding about which of the two alternative outcomes was—or even
       “tend[ed]” to be—more probable. 522 F.3d at 463, 466–67. The evidence here—although
       necessarily limited by practical realities and Google’s destruction of documents—



4 Google’s but-for arguments under monopoly power and foreclosure, Def. PTB at 25–28, 44–

45, 82–83, 86; Def. PCOL ¶¶ 70–71, 102, fail for the same reasons and more, infra § III.B.3.

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       demonstrates that but for Google’s conduct, the relevant markets would have (and
       certainly would tend to have) more robust competition. Pls. PTB §§ III–V.

               2.      Fully Assessing Google’s Anticompetitive Harms Requires Accounting
                       For All Its Anticompetitive Conduct

       Google’s argument that a court cannot aggregate different conduct to find anticompetitive

effect is misleading. Def. PCOL ¶ 57 (quoting In re EpiPen (Epinephrine Injection, USP) Mktg.,

Sales Practices and Antitrust Litig., 44 F.4th 959, 982 (10th Cir. 2022)). Google’s favored

precedent, EpiPen, emphasizes the need to assess conduct not just “separately” but also “in

totality [for] any ‘synergistic effect.’” 44 F.4th at 982. Circuits around the country, including the

D.C. Circuit, agree. Microsoft, 253 F.3d at 72 (viewing exclusive ISV agreements in “light” of

non-exclusive OEM agreements); In re Suboxone (Buprenorphine Hydrochlorine & Naloxone)

Antitrust Litig., 967 F.3d 264, 270–271 (3d Cir. 2020) (“[W]e look at ‘all the acts taken

together.’”); LePage’s Inc. v. 3M, 324 F.3d 141, 162 (3d Cir. 2003) (en banc) (“The relevant

inquiry is the anticompetitive effect of [the] exclusionary practices considered together,” i.e.,

“taken as a whole rather than considering each aspect in isolation.”); City of Anaheim v. S. Cal.

Edison Co., 955 F.2d 1373, 1376 (9th Cir. 1992) (“[I]t would not be proper to focus on specific

individual acts of an accused monopolist while refusing to consider their overall combined

effect.”); Am. Pres. Lines, LLC v. Matson, Inc., 633 F. Supp. 3d 209, 229 n.8 (D.D.C. 2022)

(aggregating a loyalty program, exclusive dealing, bundled pricing, and tying).

       B.      Google’s Contracts Are Also Prima Facie Unlawful Because They Are
               Exclusive And Create Substantial Foreclosure

               1.      Google Conflates Prima Facie Standards

       Google argues that even if its conduct has anticompetitive effect, Plaintiffs must show the

challenged contracts are exclusive and foreclose a substantial share of the relevant markets. Def.

PCOL ¶¶ 61–63, 98. Google does not cite anything to support its argument. Instead, Google



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insists that these two additional elements are required because Plaintiffs’ case is “predicated on

characterizing [Google’s conduct] as a form of exclusive or de facto exclusive dealing.” Def.

PCOL ¶ 98; accord Def. PCOL ¶ 61. But Plaintiffs have consistently explained that the

exclusive-dealing analysis is too narrow to capture harms caused by Google’s conduct and thus

not the best way to assess this case. Pls. PCOL §§ IV.B; Pls. Memo. In Opp. To Def. Mot. For

Summ. J., ECF No. 476, § II.A. Thus, this Court need not find exclusivity and substantial

foreclosure, Crowder v. LinkedIn Corp., 2024 WL 1221956, at *4 n.3 (N.D. Cal. Mar. 21, 2024),

although the evidence shows both, infra § III.B.2–3; Pls. PCOL §§ IV.C–D.

       Similarly, Google argues that even if its contracts are exclusive and create substantial

foreclosure, Plaintiffs must separately prove anticompetitive effects. Def. PCOL ¶ 74. But

Microsoft repeatedly found exclusive agreements prima facie unlawful after determining the

agreements created substantial foreclosure; no separate effects analysis occurred. Summ. J.

Opinion at 37. Thus, if the Court chooses to analyze Google’s conduct through the lens of

exclusive dealing—which it should not, Pls. PCOL § IV.B—a prima facie case can rest on

exclusivity and substantial foreclosure alone. 5

               2.     Google’s Contracts Are Exclusive

       The challenged contracts are exclusive under Section 2. Pls. PCOL § IV.C.1; Pls. PTB at

35–42. In response to this evidence, Google offers three flawed attacks.

       First, Google argues that the challenged contracts are not exclusive because they leave

open non-default distribution channels (e.g., direct navigation, downloadable apps). Def. PCOL

¶¶ 64–65, 99–100; Def. PTB at 37–40, 72, 74, 76, 79. This fails because it (1) overlooks that




5 Nonetheless, Google’s conduct causes anticompetitive effects. Pls. PCOL § IV.A; supra

§ III.A.

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Google’s agreements are exclusive with respect to defaults and (2) overstates the significance of

alternate, inferior distribution channels. Pls. PTB §§ III.C.1–2.

       But the distinction between partially or wholly exclusive contracts should not affect the

result here. Even under Google’s flawed analysis, the contracts are at least partially exclusive,

which qualifies as exclusivity under Section 2. Pls. PCOL § IV.C.1. By definition, partially

exclusive contracts always leave room for rival distribution, and even wholly exclusive contracts

entered with distributors leave room for rivals to distribute directly to consumers or through

uncovered distributors. For example, Microsoft found exclusivity in four types of distribution

contracts, 253 F.3d at 67–76, even though every consumer could access the primary rival

through an exception in the contracts or through alternative distribution channels, id. at 70

(Netscape could “reach[] any potential user by some means of distribution.”); id. at 73 (Apple

contract limited only “one of the two most important methods of browser distribution” on Apple

devices.); United States v. Microsoft Corp., 87 F. Supp. 2d 30, 53 (D.D.C. 2000) (“[E]very PC

user worldwide . . . [can] install Navigator. Navigator can be downloaded from the Internet. It is

available through myriad retail channels. It can (and has been) mailed directly to an unlimited

number of households.”), rev’d in part on other grounds, 253 F.3d 34 (D.C. Cir. 2001).

       Other circuits agree. ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 287–88 (3d Cir.

2012) (upholding exclusivity despite partners’ ability to distribute rivals upon consumer request);

Dentsply, 399 F.3d at 185, 191–94 (finding exclusivity despite consumers’ ability to access rivals

directly, through contract exceptions, and through uncovered distributors); LePage’s, 324 F.3d at

157–58 (upholding exclusivity for contracts entered with only certain retailers); McWane, 783

F.3d at 822, 840 (upholding exclusivity despite contract “exceptions” enabling a rival to achieve

a 10%-and-growing market share). Even Google’s own expert recognizes that partially exclusive




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distribution contracts can harm competition. Benjamin Klein & Kevin Murphy, Exclusive

Dealing Intensifies Competition for Distribution, 75 Antitrust L.J. 433, 439–40 (2008) (Partially

exclusive “shelf space contracts,” which curb but do not eliminate the retail shelf space available

for rivals, can be anticompetitive if they create enough foreclosure.). 6

       Second, Google confuses de facto exclusivity, Pls. PCOL at 18, when emphasizing how

the MADAs and RSAs (theoretically) permit partners to opt out of exclusivity on a device-by-

device basis, Def. PCOL ¶ 100; Def. PTB at 72–73, 77–78. Opting a device out of the MADA

would render the device functionally unusable, and opting out of the RSA would sacrifice

substantial payments. Pls. PFOF ¶¶ 238, 240–244, 257, 273, 294–309, 779–781. Thus, despite

the availability of device-by-device exceptions, virtually every Android smartphone sold in the

United States complies with the MADAs’ and RSAs’ exclusive terms. Pls. PFOF ¶¶ 781, 2409.

That is quintessential de facto exclusivity. See Pls. PCOL at 18.

       Third, Google’s reliance on Aerotec International, Inc. v. Honeywell International is

misplaced. Def. PCOL ¶ 62 (quoting 836 F.3d 1171, 1182 (9th Cir. 2016)); Def. PTB at 40–41

(same). Aerotec involved one-off purchase agreements with no “exclusive requirements.” 836

F.3d at 1182. By contrast, Google’s agreements (whether expressly or de facto) require partners

to set Google as the exclusive default for years at a time. Pls. PFOF ¶¶ 208–318.

               3.      Google’s Contracts Create Substantial Foreclosure

       Although a formulaic foreclosure analysis is not right for this action, Google’s contracts

create substantial foreclosure. If the Court analyzes foreclosure, which it need not, the Court

should reject Google’s five arguments.




6 Although alternative distribution does not disprove exclusivity, it is relevant to foreclosure, ZF

Meritor, 696 F.3d at 283–84, which Plaintiffs’ analysis reflects, infra § III.B.3.

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       First, Google argues against aggregating foreclosure by citing inapposite precedent

holding that a course-of-conduct claim cannot rest on purely lawful conduct. Def. PTB at 80, 82

(citing Microsoft, 253 F.3d at 67–68, 78; Eatoni Ergonomics, Inc. v. Rsch. in Motion Corp., 826

F. Supp. 2d 705, 710 (S.D.N.Y. 2011)). Exclusive-dealing analysis, by contrast, appropriately

aggregates foreclosure, even when created by self-distribution and non-exclusive agreements or

conduct. Pls. PCOL §§ IV.D.2–3; see also supra § III.A.2

       Second, Google argues that the challenged contracts create no foreclosure because rivals

could have competed against Google before each contract was finalized. Def. PCOL ¶¶ 68–69,

72–73, 101–101(a), 105–106; Def. PTB at 42, 46. That is no different from Google’s per se

“competition for the contract” defense, which this Court already rejected. Summ. J. Opinion at

35–39. Even Google’s expert cannot endorse Google’s extreme position. Benjamin Klein &

Kevin Murphy, How Exclusivity Is Used to Intensify Competition for Distribution —Reply to

Zenger, 77 Antitrust L.J. 691, 696 (2011) (“[C]ompetition by a dominant supplier for exclusivity

sometimes may result in harm to consumers.”). Google’s argument also relies on an

overstatement of the meager competition it faces, Pls. PTB at 65–66, and on the mistaken belief

that foreclosure is measured before the challenged agreements exist, In re Lorazepam &

Clorazepate Antitrust Litig., 467 F. Supp. 2d 74, 82 (D.D.C. 2006) (“The central question is

whether after the Exclusive Agreements were signed Mylan’s competitors were able to

meaningfully compete or whether they were foreclosed from the market. ” (emphasis added)).

       Third, Google argues that the challenged contracts create no foreclosure because rivals

can compete against Google’s existing contracts by encouraging users to change or circumvent

Google’s defaults. Def. PCOL ¶¶ 68–68(a), 69, 73, 101, 101(b), 106; Def. PTB at 41–42, 46–47.

But countless opinions, including at least two by the D.C. Circuit, have held that distribution




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deals can create substantial foreclosure even when other forms of distribution remain available.

See supra § III.B.2; Mytinger & Casselberry, Inc. v. FTC, 301 F.2d 534, 538–39 (D.C. Cir.

1962) (finding substantial foreclosure even if “competitors [could] easily obtain distributors

other than those tied exclusively to petitioners”); see also Eastman Kodak Co. v. Image Tech.

Services, Inc., 504 U.S. 451, 485 (1992) (conduct necessitating entry into adjacent markets (e.g.,

browsers) is unlawful because “one of the evils proscribed by the antitrust laws is the creation of

entry barriers to potential competitors by requiring them to enter two markets simultaneously”).

       To be clear, users’ ability to change or circumvent defaults is relevant to the assessment

of foreclosure. ZF Meritor, 696 F.3d at 283–84. But Plaintiffs have accounted for this through

conservatively calculated and corroborated foreclosure numbers:

   •   The foreclosure numerators exclude Google queries and revenue obtained through self-
       distribution (e.g., user-downloaded Chrome) and non-exclusive third-party distribution
       (e.g., Google’s bookmark on Safari). Pls. PCOL § IV.D.2; Pls. PFOF ¶¶ 954, 965–966.

   •   The foreclosure numerators exclude queries conducted through covered access points in
       the rare circumstances where a user changed the Google default and sent queries to a
       rival. Pls. PFOF ¶¶ 954, 965–966.

   •   And the foreclosure numbers’ significance is corroborated by evidence of the
       overwhelming importance of defaults, even in the face of implausibly strong competition.
       Pls. PTB at 42–49, 50.7

       Fourth, Google overstates the threshold for what foreclosure amount counts as

“substantial” in this action. Def. PCOL ¶¶ 73, 106; Def. PTB at 45–46, 83–84. Again, this is not

best viewed as a foreclosure case. In any event, the 36–50% foreclosure here is well beyond the

threshold for what courts require. Pls. PCOL § IV.C.2; Mytinger, 301 F.2d at 538–39 (finding

8.6% foreclosure substantial). And if anything, the context of this action justifies a lower




7 Google complains the supporting economic analysis was undisclosed. Def. PCOL ¶¶ 72, 105;

Def. PTB at 45. Cross-examination showed otherwise. Pls. PFOF ¶ 2381.

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threshold than usual: Plaintiffs’ have brought Section 2, not Section 1, claims, Pls. PCOL at 20–

21; Google’s monopolies are especially robust, Pls. PTB at 23–24, 26; scale is especially

important in the relevant markets, Pls. PTB § III.A.1; and user-downloaded Chrome gives

Google control over an additional 20% of general search services, Pls. PCOL § IV.D.2.

       Google misleadingly cites a treatise in support of moving the foreclosure goalposts to a

higher number. Def. PTB at 46 (citing Phillip E. Areeda et al., Antitrust Law ¶ 1807d (5th ed.

2022)); Def. PCOL ¶ 73 (same). The threshold named in the treatise (30 to 40%) applies under

Section 1, when the defendant does not have “sufficient power,” i.e., the monopoly power

needed to harm competition at low foreclosure rates. Areeda ¶ 1821c, cited in id. ¶ 1807d n.71.

And even for Section 1, the cited paragraph advocates for calculating foreclosure to “reflect th[e]

facts,” id. ¶ 1807d, which Plaintiffs’ have done through conservative, corroborated calculations.

       Finally, Google argues that its contracts create little-to-no foreclosure because Google is

the nation’s favorite GSE and would therefore have a similar market share in the but-for world.

Def. PCOL ¶¶ 70–71, 102–104, 106; Def. PTB at 43–45, 72, 81–86. This is circular. Google

seeks to diminish the importance of scale, an advantage that it has spent billions of dollars to

procure and maintain, and without which other rivals would have been able to meaningfully

compete. Pls. PFOF ¶¶ 159–207, 740–778, 822–866. More fundamentally, Google misstates the

nature of foreclosure, which requires no but-for comparison. Supra § III.A.1; Pls. PCOL at 19–

20, 22–23; Mytinger, 301 F.2d at 537–38 (endorsing coverage as the proper measure of

foreclosure because the plaintiff “is entitled to view the situation as it exists” ). Even Google’s

own foreclosure expert rejects Google’s market-share approach, Pls. PCOL at 23–24, and for

good reason: substantial foreclosure harms the competitive process even when market shares in

the but-for world would closely resemble shares in the current world, Pls. PTB at 51.




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       Google claims support for its but-for argument from McWane, which describes

“foreclosure [as] one of several factors” relevant to liability. 783 F.3d at 835; Def. PTB at 43.

But none of McWane’s additional factors endorses Google’s market-share comparisons, 783 F.3d

at 835, and each of McWane’s additional factors supports Plaintiffs’ case, Pls. PFOF ¶¶ 216, 220,

250, 255, 274, 281, 286, 300, 308, 629–637, 1071–1092, 1137–1192, 2129, 2256–2265.1, 2280–

2299, 2302–2308. Google also questions the utility of foreclosure itself, Def. PCOL ¶ 71; Def.

PTB at 43–44, by quoting Prof. Whinston, who notes that he would “ideally” assess

anticompetitive effects—not foreclosure—relative to the but-for world, Pls. PFOF ¶¶ 972–973.

For the reasons articulated previously, the Court should reject an overly formalistic and cramped

foreclosure analysis in favor of a broad effects analysis that meaningfully reflects the facts as

presented at trial. Supra § III.B.1; Pls. PCOL § IV.B. But if this Court chooses to quantify

foreclosure, the Court should adopt Plaintiffs’ approach as opposed to Google’s, which is riddled

with errors and overstatements related to proper methodology .

       C.     Google’s Contracts Need Not Be Predatory To Violate Section 2

       Lastly, Google proves that not all recycling is good by recasting its “competition for the

contract” defense into a new form, arguing that the browser agreements are per se lawful unless

Plaintiffs can show they are predatory. Def. PCOL ¶¶ 80–82. Courts have repeatedly rejected this

argument, as well as its progenitor. E.g., Am. Pres. Lines, 633 F. Supp. 3d at 229 (discounts can

constitute unlawful exclusive dealing even when not predatory); FTC v. Surescripts, LLC, 424 F.

Supp. 3d 92, 101–02 (D.D.C. 2020) (same); ZF Meritor, 696 F.3d at 273–81 (same).

IV.    Google Fails To Present Valid Justifications Outweighing Anticompetitive Effects

       A.     Google Has Shown No Valid Justification For Its Browser Agreements

       Google failed to prove any valid benefits from the challenged conduct, let alone benefits

sufficient to outweigh the anticompetitive harm of its conduct, see Pls. PCOL § V, and the Court


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should therefore reject the proposition that the browser agreements are procompetitive.

               1.     Browsers’ Use Of A Single Default Search Engine Is Not Evidence
                      That Google’s Agreements Are Procompetitive

       Browser agreements are not procompetitive simply because developers design browsers

with a default search engine and seek compensation for doing so. Def. PCOL ¶¶ 84–85; Def.

PTB at 51–52. Plaintiffs do not challenge developers’ ability to set a default—even a Google

default—if they so choose. Rather, Plaintiffs challenge the terms in Google’s agreements

requiring developers to carry a single default set to Google, even if they would choose otherwise.

       Google’s citations to EpiPen and Barry Wright are misplaced. See Def. PCOL ¶ 84. In

both, the defendants’ partners were “end user[s]” who had embraced exclusivity and who had

every interest in preserving competition. EpiPen, 44 F.4th at 986, 995–96; Barry Wright Corp. v.

ITT Grinnell Corp., 724 F.2d 227, 229, 237–38 (1st Cir. 1983). None of those circumstances

apply here. Google’s partners have bristled at exclusivity, Pls. PFOF ¶¶ 741, 747–761, 805–807,

824, and Google’s partners cannot safeguard competition because (1) competition is a public

good, id. ¶ 1232, and (2) by receiving a share of monopoly profits extracted at the expense of end

users and advertisers, distributors can benefit from lost competition, Pls. PTB at 64–65.

               2.     Google’s Agreements Do Not Enhance Competition Among GSEs

       Google argues that browsers are designed with a default GSE to stimulate competition for

the contract. Def. PCOL ¶¶ 85, 87, 89; Def. PTB at 49, 53, 61. This claim is contradicted by the

evidence and contrary to relevant law. Pls. PTB § VI.B.1; Pls. PFOF ¶¶ 1070–1083.

       Google is wrong that Mozilla’s deal with Yahoo and Microsoft’s pitch to Apple prove

that Google’s agreements motivate rivals to invest in their search engines. Def. PCOL ¶¶ 85, 87,

89; Def. PTB § III.D.2. In the Yahoo deal, Mozilla sought independence from Google, which

Mozilla ultimately did not obtain, and Microsoft’s pitch to Apple relied on making investments



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after the deal was executed. Pls. PFOF ¶¶ 1075, 1257–1259, 1277, 2356. Thus, when GSEs try to

compete for defaults, Google’s agreements block them. Id. ¶¶ 762–778, 866.

       Google quotes Race Tires that “[i]t is well established that competition among businesses

to serve as an exclusive supplier should actually be encouraged.” Def. PCOL ¶ 85 (quoting Race

Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 83 (3d Cir. 2010)). However, the

relevant market in Race Tires was competitive. 614 F.3d at 83. The court distinguished a

competitive market from markets with a “clearly dominant supplier” or where the “market itself

is already heavily concentrated.” Id. at 76. Thus, Race Tires actually undermines Google’s

position here. The court in McWane (cited by Google, Def. PCOL ¶ 67) similarly recognized this

distinction, noting that “[w]hen a market is competitive, the competition for the exclusive

contract is a vital form of rivalry . . . . But, notably, in the absence of such competition, a

dominant firm can impose exclusive deals on downstream dealers to strengthen or prolong its

market position.” 783 F.3d at 827–28 (internal quotation marks and brackets omitted).

               3.      Google’s Claims That Its Default Agreements Incentivize Browser
                       Improvements Are Unproven And Pretextual

       Google has not established that its revenue-share payments to browsers caused

improvements that encourage people to use search engines more. Pls. PFOF ¶¶ 1294–1296; Def.

PCOL ¶ 86; Def. PTB at 54. Nor has Google shown that benefits in the browser market enhance

competition in the general search services market. Pls. PFOF ¶¶ 1300–1303; 2399.

       Developers have independent incentives to “improve the browser’s speed, stability, [and]

ease of use.” Def. PCOL ¶ 86. The assertion that Google’s revenue-share payments give

developers an “opportunity to earn more money by . . . encourage[ing] more searching” amounts

to an argument that sharing monopoly profits is “procompetitive.” Id. This justification is

invalid. Pls. PCOL § V.A.3. Holding otherwise would invite exclusionary conduct into every



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industry, provided the monopolist shares a fraction of its supracompetitive profits.

       Google conflates its conduct with developers’ design decisions, which, of course, are

influenced by Google’s agreements. Cf. NCAA v. Alston, 141 S. Ct. 2141, 2163 (2021) (rejecting

the notion that “a party can relabel a restraint as a product feature and declare it immune from

§ 1 scrutiny” (internal quotation marks omitted)). Browsers could still “work effectively out of

the box,” Def. PCOL ¶ 86, and even have Google as a default if Google did not require default

exclusivity. Google’s argument that its agreements “incentivize the developer to select the

highest quality search engine,” id., boils down to an argument that absent entering a contract

setting a default, developers cannot make their own choice of search engine. Pls. PCOL § V.A.3;

Nat’l Soc. of Prof. Eng’rs v. United States, 435 U.S. 679, 695 (1978). That a distributor could

make an unwise choice does not justify anticompetitive conduct. Pls. PCOL § V.A.3; FTC v. Ind.

Fed’n of Dentists, 476 U.S. 447, 463 (1986).

       Even if Google could establish that its payments have resulted in browser improvements,

such payments would likely be higher in a competitive market. Pls. PFOF ¶¶ 1298–1299. As

Prof. Whinston explained, in monopolized markets, competition for exclusive agreements results

in lower payments. Id. ¶¶ 1245–1248. Google also ignores the fact that browsers earn revenue

from search agreements that are not exclusive. Id. ¶¶ 38, 1307, 1321.

              4.      Benefits Outside The General Search Market Are Not Cognizable

       Browsers are outside the relevant markets. Pls. PFOF ¶¶ 323–521. Thus, contrary to

Google’s argument, Def. PCOL ¶¶ 91–92; Def. PTB § III.D.4, benefits to “browser competition”

are irrelevant absent proof—that Google failed to produce—that those benefits improved

competition in the market for general search services. Pls. PCOL § V.A.1; Pls. PTB § VI.A.

       Google’s argument that out-of-market benefits are cognizable because search engines and

browsers are “highly complementary,” Def. PCOL ¶ 93, is legally and factually flawed.


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Section 2 confines the inquiry to a “part of the trade or commerce” among the states, 15 U.S.C.

§ 2, and the case law and legislative history confirm that only benefits “in the relevant market”

are credited. Pls. PTB at 59–60. No exception exists for “complementary” “parts of trade” or

“relevant markets.” Indeed, Google failed to even define a browser market, much less to supply

evidence of benefits to that purported market and how competition in that market connects to

competition in search. Pls. PFOF ¶¶ 1294–1303.

       None of the cases Google cites suggest otherwise. First, three of the cases involve claims

under Section 1, 15 U.S.C. § 1, which lacks the “any part” language in Section 2. NCAA v. Bd. of

Regents of Univ. of Okla., 468 U.S. 85, 88 (1984); Microsoft, 253 F.3d at 95–96; M&H Tire Co.

v. Hoosier Racing Tire Corp., 733 F.2d 973, 974 (1st Cir. 1984); Pls. PTB § VI.A. Second, in

nearly every case Google cites, the proffered justifications included potential in-market benefits

and the courts did not address the issue of cross-market balancing. Microsoft, 253 F.3d at 67, 96

(“[P]laintiffs must . . . demonstrat[e] that the anticompetitive effect in the browser market is

greater than these benefits,” which included “enabling users to move seamlessly . . . to the Web

in the same browsing window.”); Eastman Kodak, 504 U.S. at 482–483 (defendant claimed that

tying repair services to Kodak equipment “best maintain[ed] high quality service for its

sophisticated equipment”); Mozart Co. v. Mercedes-Benz of N. Am., 833 F.2d 1342, 1348–51

(9th Cir. 1987) (defendant claimed that tying replacement parts to Mercedes automobiles

“maintain[ed] the quality of Mercedes replacement parts.”); M & H Tire Co., 733 F.2d at 976,

986 (rule was a “reasonable form of sports regulation,” and “parties seem[ed] to agree that

advancing participant parity [was] a reasonable goal” and the challenged rule “could lower

[defendant’s] costs.”); Pls. PTB at 61–62. Third, even though Board of Regents raised a cross-

market justification, the Supreme Court rejected the justification on other grounds—i.e., it rested




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on the “assumption that competition itself is unreasonable.” 468 U.S. at 116–117; Pls. PTB at 62.

       Finally, even in the rare instance where a court raised the possibility of balancing

anticompetitive effects in one market with procompetitive effects in other markets, the court did

not “find it appropriate” to do so and determined that it “need not enter these dangerous waters to

resolve the instant dispute.” Sullivan v. NFL, 34 F.3d 1091, 1112 (1st Cir. 1994). The court also

found out-of-market benefits more relevant if they led to in-market benefits and further

cautioned that “courts should . . . maintain some vigilance by excluding justifications that are so

unrelated to the challenged practice that they amount to a collateral attempt to salvage a practice

that is decidedly in restraint of trade.” Id. at 1112–13.

               5.     Plaintiffs Have Identified Valid Less Restrictive Alternatives

       Google’s anticompetitive conduct is unlawful if less-restrictive alternatives may achieve

the same procompetitive benefits. Pls. PCOL § V.A.5; Def. PCOL ¶ 95. Importantly,

“deficiencies in [Google’s] procompetitive benefits . . . influence[] the analysis” of whether less

restrictive alternatives exist, and Plaintiffs must show only that “less restrictive means exist to

achieve any proven procompetitive benefits.” Alston, 141 S. Ct. at 2162 (emphasis added).

       In a familiar attempt to inject an improper but-for causation standard into the analysis,

Google argues that a viable less-restrictive alternative requires proof that the alternative “would

arise in competition absent the challenge[d] conduct.” Def. PCOL ¶ 96. But Alston, cited by

Google, imposes no such requirement. 141 S. Ct. at 2160 (Plaintiff need only “demonstrate that

the procompetitive efficiencies could be reasonably achieved through less anticompetitive

means.”). Nor have lower courts. See, e.g., Smith v. Pro Football, Inc., 593 F.2d 1173, 1187–89

(D.C. Cir. 1978). Instead, that the proposed alternative has been used by third parties “may be

especially compelling” evidence of feasibility. Impax Labs. v. FTC, 994 F.3d 484, 499 (5th Cir.

2021). In the general search services market, Plaintiffs have provided evidence of agreements


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with unconditional revenue shares and most-favored supplier arrangements. Pls. PFOF ¶¶ 742–

751; 1307–1308, 2167–2168, 2171, 2174, 2320–2323.

       Even if Google could substantiate cognizable procompetitive benefits that require its

agreements, they are far outweighed by the real, concrete harms resulting from its

anticompetitive conduct. Id. ¶¶ 1230–1344.

       B.     Google Has Proven No Valid Justification For Its Android Agreements

       Contrary to Google’s claims, there is no evidence that the Android agreements boosted

mobile search usage or promoted mobile competition, let alone in a manner that justifies the

contracts’ competitive harm. Pls. PFOF ¶¶ 157, 1323–1324; Pls. PTB § VI.A–B.2(a), 3; Pls.

PCOL § V.A.1–3. To the extent the Android agreements have generated benefits in mobile

search, the justification is pretextual. Pls. PFOF ¶¶ 779–821, 1324–1330.

              1.     Demanding Exclusivity In Exchange For Software To OEMs Is Not
                     Procompetitive

       Google argues that requiring default exclusivity in exchange for the MADA reduces the

price of smartphones leading to more mobile searches. Def. PCOL ¶ 110; Def. PTB at 90–91.

But Google presented no evidence that the MADA has led to low-priced Android phones. Pls.

PFOF ¶¶ 1331–1334. Moreover, because Google has incentives to offer its software for free

absent the MADA’s preinstallation requirements, this argument is pretextual. Id. ¶¶ 1312–1317.

       Citing FTC v. Qualcomm, 969 F.3d 974, 989 (9th Cir. 2020), Google suggests the

MADA uses a “contractual restriction” that is ultimately procompetitive. Def. PCOL ¶ 110. But

Qualcomm does not fit the evidence here. The passage Google cites describes the antisteering

provisions challenged in Ohio v. American Express as a “unique business model” that forced

rivals “to adapt and innovate”—i.e., compete. Qualcomm, 969 F.3d at 989 (discussing 138 S. Ct.

at 2289–90). A business model’s uniqueness does not suggest that it is procompetitive; instead,



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the model’s effect is determinative. Id. at 989–90. The MADA’s preinstallation and default

provisions are neither unique nor procompetitive, but rather mirror previously condemned

practices. See Microsoft, 253 F.3d at 61. Indeed, the MADA has discouraged competition and

reduced search quality. Pls. PFOF ¶¶ 1067–1159.

              2.      Google’s Alleged Procompetitive Justifications For Its Android
                      Agreements Are Pretextual And Do Not Justify Exclusivity

       Google argues that the payments in its Android RSAs give OEMs and carriers a financial

incentive to increase search on their mobile devices, Def. PCOL ¶¶ 112, 114; Def. PTB § IV.C.1.

Even without the Android RSAs, competition among OEMs and carriers provides “a financial

incentive to produce high quality mobile devices [with] . . . high-quality user interfaces,

affordable data plans, and high-speed data networks.” Def. PCOL ¶ 112; Pls. PFOF ¶¶ 1328–

1330. The evidence Google cites underscores this point. Def. PFOF ¶ 1688 (quoting T-Mobile’s

Jeffrey Giard: “We also take a lot of effort to provide our customers with the best handset

experience . . . .”). Instead, the actual purpose of the financial incentive—as demonstrated by

direct evidence and Google’s sanctionable conduct—is to increase and protect Google’s default

exclusivity, even when Android partners have pushed back. Pls. PFOF ¶¶ 798–817, 1193–1229,

1325–1327; Pls. PCOL §§ V.A.4, VI; Pls. PTB § VIII. Thus, Google’s argument is pretextual.

              3.      Google’s RSAs Prevent Competition, Not Free Riding

       Google argues that without exclusivity, “partners could promote rivals while earning

revenue share on all their Google Search volume, thereby depriving Google of the incremental

volume that the higher revenue share is designed to promote.” Def. PCOL ¶ 114. This concern

finds no support in economics or the record. Pls. PFOF ¶¶ 38, 1307, 1321, 1335–1338, 2468.

       If Google offers a revenue share higher than its rivals, then OEMs and carriers would be

incentivized to promote Google over rivals, regardless of Google’s exclusive provisions. If



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instead a rival offers a higher revenue share or a better product, OEMs and carriers will be

incentivized to promote the rival unless Google innovates or raises its revenue share. That is the

exact competition that Google has eliminated. Under more competitive conditions, revenue-share

payments would likely increase, giving OEMs and carriers more financial incentive to boost

search. Pls. PFOF ¶¶ 1298–1299. Google’s RSAs are designed to prevent competition.

        Google argues its RSAs prevent free riding. Def. PTB at 96 (citing N. Am. Soccer League

v. U.S. Soccer Fed’n, 883 F.3d 32, 43 (2d Cir. 2018)); Def. PCOL ¶ 114. But the facts in N. Am.

Soccer are in stark contrast to Google’s RSAs. There the sports leagues faced a risk of free riding

from teams being underfunded and relying on the investments of others to keep leagues afloat.

N. Am. Soccer, 883 F.3d at 43–44. In comparison, where GSEs must compete to be promoted by

OEMs and carriers, free riding is not a risk and, thus, preventing it is not a valid procompetitive

justification.

                 4.    Benefits Outside The Relevant Markets Are Not Cognizable

        The Court should reject Google’s arguments that the MADAs and RSAs expand search

output by promoting competition against iOS. Def. PCOL ¶¶ 113, 115; Def. PTB § IV.C.2.

Purported benefits in the smartphone industry are not cognizable. Pls. PCOL § V.A; Pls. PTB

§ VI.A; supra § IV.A.4. And neither those purported benefits nor their “highly complementary”

effects in search, Def. PCOL ¶ 116, have any supporting evidence, Pls. PFOF ¶ 2470.

        Even if Google could overcome these challenges, Google’s purported interest in mobile

competition is pretextual and contradicted by the evidence. Pls. PFOF ¶¶ 1318–1320; Pls. PTB

§ III.B. Through its ISA payments, Google pays Apple more than it pays all Android OEMs and

carriers combined without concern about strengthening its smartphone rival. Pls. PFOF ¶¶ 935–

936, 2317, 2336; UPXD104 at 19. More important, of course, is that the payments prevent

competition from its search rivals. Pls. PTB §§ III.B–C; Pls. PFOF ¶ 2337.


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